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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

IN RE:                                                          CASE NO. 17-31646 (MI)

MONTCO OFFSHORE, INC. ET AL1                                    CHAPTER 11

                  Debtors                                       (Jointly Administered)

      JOINDER OF ODYSSEA MARINE, INC. TO OCEANEERING INTERNATIONAL,
    INC.’S EMERGENCY MOTION FOR ENTRY OF ORDER PURSUANT TO 11 U.S.C. §
     1121(d) TERMINATING DEBTORS’ EXCLUSIVE PERIOD TO FILE CHAPTER 11
                   PLAN AND SOLICIT ACCEPTANCES THREOF
                           (Related to Docket No. 639)

        THIS MOTION SEEKS ENTRY OF AN ORDER THAT MAY
        ADVERSELY AFFECT YOU. IF YOU OPPOSE THE MOTION, YOU
        SHOULD IMMEDIATELY CONTACT THE MOVING PARTY TO
        RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY
        CANNOT AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY
        TO THE MOVING PARTY. YOUR RESPONSE MUST STATE WHY
        THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A
        TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT
        FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND
        HAVE NOT REACHED AN AGREEMENT, YOU MUST ATTEND THE
        HEARING.   UNLESS THE PARTIES AGREE OTHERWISE, THE
        COURT MAY CONSIDER EVIDENCE AT THE HEARING AND MAY
        DECIDE THE MOTION AT THE HEARING.
        EMERGENCY RELIEF HAS BEEN REQUESTED. IF THE COURT
        CONSIDERS THE MOTION ON AN EMERGENCY BASIS, THEN YOU
        WILL HAVE LESS THAN 21 DAYS TO ANSWER. IF YOU OBJECT TO
        THE REQUESTED RELIEF OR IF YOU BELIEVE THAT THE
        EMERGENCY CONSIDERATION IS NOT WARRANTED, YOU
        SHOULD FILE AN IMMEDIATE RESPONSE. A HEARING WILL BE
        HELD ON THIS MATTER ON DECMEBER 4, 2017 AT 3:00 P.M. (CT)
        BEFORE THE HONORABLE MARVIN ISGUR, 515 RUSK STREET,
        COURTROOM 404, HOUSTON, TEXAS 77002

REPRESENTATED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY

TO THE HONORABLE MARVIN ISGUR, UNITED STATES BANKRUPTCY JUDGE



1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Montco Offshore, Inc. (1449) and Montco Oilfield Contractors, LLC (9886). The mailing address for
the Debtors, solely for the purposes of notices and communications, is 17751 Hwy 3235, Galliano, Louisiana 70354.
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       Odyssea Marine, Inc. (“Odyssea”) hereby joins the Oceaneering International, Inc.’s

(“Oceaneering”), Emergency Motion for Entry of Order Pursuant to 11 U.S.C. § 1121(d)

Terminating Debtors’ Exclusive Period to File Chapter 11 Plan and Solicit Acceptances Thereof

(“Motion to Terminate Exclusivity Period”) [Dkt No. 639] and respectfully states as follows:

                             I.      FACTUAL BACKGROUND

       1.      On Mach 17, 2017, Montco Offshore, Inc. (“Montco Offshore”) and Montco

Oilfield Contractors, LLC (“Montco Oilfield”) (collectively “Debtors”) filed a voluntary petition

for relief under chapter 11 of the Bankruptcy Code. The Debtors are operating their businesses

and managing their properties as debtors in possession pursuant to sections 1107(a) and 1108 of

the Bankruptcy Code.

       2.      On July 7, 2017, the Debtors filed their Emergency Motion for Entry of an Order

Extending Exclusivity Periods Pursuant to Bankruptcy Code 1121 [Dkt No. 313] (the “First

Exclusivity Motion”), seeking an extension for the period during which the Debgors have the

exclusive right to (a) file a chapter 11 plan (the “Filing Exclusivity Period”) through and

including September 13, 2017, and (b) solicit a plan filed (the “Solicitation Exclusivity Period”)

through and including November 13, 2017.

       3.      On or about July 17, 2017, the Court entered an Order granting the First

Exclusivity Motion [Dkt No. 329].

       4.      On August 22, 2017, the Debtors filed their second Emergency Motion for Entry

of an Order Extending Exclusivity Periods Pursuant to Bankruptcy Code 1121 [Dkt No. 411]

(the “Second Exclusivity Motion”), seeking an extension for the period during which the

DebTors have the exclusive right to (a) file a chapter 11 plan (the “Filing Exclusivity Period”)
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through and including October 13, 2017, and (b) solicit a plan filed (the “Solicitation Exclusivity

Period”) through and including December 13, 2017.

        5.     On or about July 17, 2017, the Court entered an Order granting the Second

Exclusivity Motion [Dkt No. 424].

        6.     On September 26, 2017, Montco Offshore and Montco Oilfield filed their chapter

11 plans of reorganization and liquidation (“Plan”) [Dkt No. 439] and their disclosure statement

[Dkt No. 440] in connection therewith.

        7.     On October 6, 2017, the Court entered an Order conditionally approving the

Debtors’ Disclosure Statement [Dkt No. 470]. The Court set the Debtors’ solicitation and notice

date for October 10, 2017, with a confirmation hearing scheduled for November 13, 2017.

        8.     On October 12, 2017, the Debtors filed their third Motion for Entry of an Order

Extending Exclusivity Periods Pursuant to Bankruptcy Code 1121 [Dkt No. 486] (the “Third

Exclusivity Motion”), seeking an extension of the exclusivity period through November 13,

2017.

        9.     On November 6, 2017, the Court entered an Order Granting the Third Exclusivity

Motion [Dkt No. 554].

        10.    On November 13, 2017, the Debtors filed their fourth Emergency Motion for

Entry of an Order Extending Exclusivity Periods Pursuant to Bankruptcy Code 1121 [Dkt No.

605] (the “Fourth Exclusivity Motion”), seeking an extension for the exclusivity period through

December 13, 2017 and extending Solicitation Exclusivity Period through January 12, 2018.

        11.    On November 20, 2017, the Court continued the hearing on the Fourth

Exclusivity Motion to November 29, 2017.
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       12.     On November 24, 2017, the Debtors filed their Emergency Motion for an Order

(I) Approving (A) Bidding Procedures Governing Submission and Consideration of Competing

Transactions, (B) Bid Protections, (C) Form and Manner of Notice of Sale Transaction and Sale

hearing; and (D) Assumption and Assignment Procedures for any Transferred Contracts; (II) (A)

Scheduling and Authorizing Debtor to Conduct an Auction Pursuant to the Bidding Procedures

and (B) Authorizing Debtor to Enter into the Purchase Agreement to Implement the Bidding

Protections, (III) Authorizing (A) the Sale of the Purchased Assets Free and Clear of All Liens,

Claims, Encumbrances, and other Interests, and (B) the Assumption and Assignment of any

Transferred Contracts; and (IV) Granting Related Relief [Dkt No. 637] (“Sale Motion”), seeking

to sell all of Montco Offshore’s assets.

       13.     On November 27, 2017, Oceaneering International, Inc., filed its Motion to

Terminate Exclusivity which is currently set for hearing on December 4, 2017 at 3:00 p.m.

       14.     On November 28, 2017, the Debtors filed their Notice of Withdrawal of Debtors’

Plan and Disclosure Statement [Dkt. No. 641].

                                           II.   JOINDER

       Odyssea hereby joins in the Oceaneering’s Motion to Terminate Exclusivity Period and

incorporate herein by reference the arguments contained therein and request that they be

permitted to appear and be heard at any hearing on the Motion.

                             III.    RESERVATION OF RIGHTS

       Odyssea reserve the right to raise additional grounds for relief requested in this Joinder

and to supplement and/or amend this Joinder. The filing of this Joinder is not to be construed as

a waiver of any of Joiners’ rights and/or defenses.
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       WHEREFORE,    Odyssea Marine, Inc. respectfully request that the Court:

       1.     Enter an order, be entered in the form attached to Oceaneering’s Motion to

Terminate Exclusivity as Exhibit “A” thereto, and

       2.     For such other and further relief to which it may be entitled in law and equity.



Dated: November 29, 2017                    Respectfully submitted:

                                            ADAMS AND REESE LLP

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                                         Attorneys for Odyssea Marine Inc.,


                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing document has been served upon

the following parties listed below via the court’s CM/ECF electronic filing system and/or by

depositing a copy of same in the United States Mail, postage prepaid and properly addressed, this

29th day of November, 2017:


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